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Yolanda Mendoza
1004 N 25'" PL Pasco WA 99301 — 509-851-7743 — Yomendoza98@gmail.com

January 20", 2021
To whom it may concern,

A couple years ago Arturo and his wife Joanne Tejeda offered my daughter and me a place to
call home when we had nowhere else to go. Arturo is a father, brother, son, husband, uncle, friend and
most importantly a genuine person. Life always has obstacles and if there was ever anyone in need of a
helping hand he was there to help you up. The amount of love my family has for him and his family is
endless. They did not have to open up their doors for us and provide food and shelter but they did. That
goes to show how much of a kind hearted person he is. His daughter and son graduated high school and
were in sports doing the best in everything. He has supported them in all that they do and encouraged
them to be better and stay dedicated to their education. He is a hardworking man who is honest and |
admire him for being the role model that | wish | had in my life as a father. | appreciate you taking the
time to read my letter.

Thank you. Have great day!

ph fm

Yolanda Mendoza
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January 20,2021

Lauren Adams
6119 Wrigley Drive
Pasco, WA 99301

To Whom it may concern:

Arturo Tejeda has been my neighbor for several years, and | am proud to call him friend.

The whole family is kind and caring of our neighbors and especially to me.

In the winter, he and his son remove the snow and ice from my driveway every single year.

Whenever | have been uncomfortable going to the store due to icy roads, he always offers to go for me.

On the occasions that | needed help get my car to and back from the dealership, he has always help me
get there.

In every way, he and his family are the best neighbors and the kindest people. The entire family is
always ready to lend a hand or invite people to their house for a celebration of life events.

| am deeply shocked that this has happened to my friend because he works too hard to have time for
other things besides his family, friends, and work.

Sincerely,

Lauren Adams

Neighbor and friend.
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January 20, 2021

Angela L. Zavaleta
32110 S, Finley Rd.
Kennewick, WA. 99337

To whom it may concern:

lam writing to serve as a character witness for Mr. Arturo Tejeda. I have known Arturo for
approximately 13 years and cannot say enough about the type of man [ have known him to be
throughout those years. Arturo has always shown a dedication to his community. friends, and
especially his family. He is the type of person most hope io encounter at some point in their
lives and is the type of man one hopes their son becomes and their daughter finds as a life
partner.

Arturo is a responsible and dependable family man. Ile is friendly and accommodative and has a
calm demeanor that can put any in his presence at ease. [ have heen fortunate enough to meet his
friends and family at various functions and have al ways felt comfortable and welcome.

Mr. Tejeda has been an amazing friend and has been helpful to me and my family; both in my
perscmal and professional life whenever I have had to call on him. He has lent himself to assist
with me with my business and he and his wife have even cooked for my family events and I am
eternally grateful for their friendship. The Tejeda family is now my family and I would not
hesitate i9 vouch for them in any way | can.

If you wish to know more or have any questions, please feel free to contact me.

Sincerely,

 

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Azavaleta2 7@hornail cora

 
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Ana Landa
1700 S Huntington St.

Kennewick, WA 99337
January 20, 2021
To whom it may concern:

My name is Ana Landa and! have known Arturo Tejeda since 2010. | met him through my husband
Omero Landa whois his cousin, best friend, and work partner where they are both currently employed
through Brand Safway for the past 9 years or so.

Over the past years we have built a very strong relationship/friendship with Arturo and his wife Joanne
and family since they are our ten-year-old daughters godparents. Both Arturo and Joanne have been
there for our daughter and sharing every milestone with us.

Arturo is an honorable and hardworking man and both my husband Omero and | have seen that first
hand. He is always willing to help out when asking for favor regardless of working 12+ hour work days.
Hes sucha hardworking man and never says no to working extra hours or days. Both my husband and
him have completed their insulators apprenticeship together and enjoy being an insulator. He is a
family man and enjoys spending time with them every chance that he gets and work permits him since
his job sometimes can consist of long hours and days.

| hope you take in consideration my letter of recommendation for Arturo Tejedaas you make your
decision.

  
 

Sincerely,

Ana Landa

 
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January 20, 2021
William L Morgan
4408 Kariba Court
Pasco, WA 99301
RE: Arturo Tejeda

To Whom it May Concern:

|, William L Morgan, have known Arturo TeJeda for more than ten years. In that time, | have
always known him to have a job and to take care of his family.

He loves riding his motorcycle and fishing and is known as a family man. | met him through a
mutual friend that owned a body shop who is now deceased.

Arturo is always available when | need help. | know him to be a “stand-up guy” and a good
neighbor.

Sincerely,

WW Mow Lipo 01/21/21

Signed Dated
Case 4:21-mj-07015-MKD ECF No. 24-1 filed 01/21/21 PagelD.42 Page 6 of 22

Lorena Schubert
4402 W 21° Ave
Kennewick, WA 99338

schubertlorena@gmail.com

01/20/2021
RE: Arturo Tejeda

To whom it may concern:

| have known Arturo Tejeda for over 40 years. Not only is he my relative, he is also a good friend. Arturo
has always been a hard worker and an amazing father. He is willing to put long hours at work to make
sure that his family is taken care of. You can tell how much his wife and children love and look up to him
by how respectful and happy they are when he is around.

He is someone you can always count on when in need. | recall several occasions when my sisters needed
a ride or someone to help them fix their car. Arturo has always stopped what he was doing to help
them, even when he had other things on his schedule. When attending family gatherings he always
makes sure that you feel welcomed and included. He is pleasant, honest, and trustworthy.

Arturo always puts the needs of his friends and family above his own. Arturo Tejeda is a true, authentic
friend.

Sincerely,

“~

2a C
Gene gure

Lorena Schubert
Case 4:21-mj-07015-MKD ECF No. 24-1 filed 01/21/21 PagelD.43 Page 7 of 22

January 20, 2021

To whom it may concern,

My name is Blanca Mokler and Arturo Tejeda is my cousin. He is a hard working
family man. If anyone ever needs help he is always the first to jump in. He has a very good job
that he has been at for a while now. He has amazing integrity and is a very honest man. |

consider myself very blessed to have him as my cousin.

Sincerely,

4 DPpo nea tookle

Blanca Mokler
Case 4:21-mj-07015-MKD ECF No. 24-1 filed 01/21/21 PagelD.44 Page 8 of 22

Cendy Castillo
5821 Tyre Dr

Pasco WA 9931
To whomit may concern:

My name is Cendy Castillo and I'm writing this recommendation letter for Arturo Tejeda. lve known
Arturo and his family since 2010.

Arturo is an honorable man and person; he is hard working and always puts his family first. lve had the
honorto spend time with them and have family BBQs and/or family events. Arturo works with my
brother Omero Landa as an insulator for Brand Safway. Since lve known him he has always put his family
first and always working to provide for his family. He has no hesitation to work from sun up to sun down
to provide for his family. Always willing to help others with no hesitation to be there. Hes someone you
can always call no matter the time he is always willing to help.

| hope you take in consideration this recommendation lette rthat! wrote for Arturo. If you have any
questions, | would be happy to answer my numberis 509-793-3625.

Sincerely,

Condy Cobo

Cendy Castillo
Case 4:21-mj-07015-MKD ECF No. 24-1 filed 01/21/21 PagelD.45 Page 9 of 22

January 20,2021
To whom it may concern,

Arturo Tejeda

| have known Artuto for 8 years as a friend and business associate. | can vouch
for him, and say that he has been a person of morals and integrity over all the
time we have known each other.

| can further state that Arturo has been immensely dedicated to his family, and
work, and a loving person towards friends too.

He has been known to be helpful and charitable, and is a much-loved person by
all.

Yours faithfully,

Chis )) laa.
Chad D. Tuck
Case 4:21-mj-07015-MKD ECF No. 24-1 filed 01/21/21 PagelD.46

Juline Tuck
16 Quincy Rd
Burbank, WA 99323

JulineTuck@gmail.com
January 20,2021

To whom it may concern,

| have known Arturo Tejeda for 8 years as a friend. | can vouch for him, and say

that he has been a person of morals and integrity over all the time we have
known each other. Arturo is a very kind and loving person. He will go out of his

way to help anyone in need.

| can further state that Arturo has been immensely dedicated to his family, and
work, and a loving person towards friends too.

Yours faithfully,
bi BACK

Juline A. Tuck

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What ji} means to Support your Family, Arturo was always
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Toolgy and haS only Swwn me what it means do he an

Outstanding worker, Friend, ana Fa ther,

Sincerely,
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